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                         UN ITED STA TES DISTR IC T C O U RT
                         SO U TH ER N DISTR ICT O F FLO R ID A
                                                 '
                                xo 20 - MJ O ZZYQ-f* X
                                   .
                                                     -




 UN ITED STATE S O F A M ER ICA

 V S.

 H ECTOR ALEJANDRO CABRERA FUENTES,

        D efendant.



                                C RIM IN AL C O V ER SH EET


        1.    This m atter did not originate from a m atter pending in the CentralRegion ofthe
        UnitedStatesAttorney'sOfficepriortoAugust9,2013(M ag.JudgeAliciaValle).
        2.    Thism atterdid notoriginatefrom am atterpending in theNorthel'n Region ofthe
        United StatesAttolmey'sOfficepriortoAugust8,2014 (Mag.JudgeShaniek Maynard).
                                          Respectfully submitted,

                                          ARIANA FAJARDO ORSHAN
                                          UNITED ST TES ATTORNEY



                                          K aren E.G be
                                          A ssistantUnited StatesA ttorney
                                          Florida B arN o.771007
                                          U nited StatesA ttorney'sO ffice
                                          99 N .E.4th Street
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AO 91(Rev.ll/1l) CriminalComplaint

                                 U NITED STATES D ISTRICT C OURT
                                                             forthe
                                                  Southern DistrictofFlorida

               United StatesofAmerica                          )
                            V.
                                                               )
                                                               ) casexo. & - * 7'- JCZ* -:w n
                                                               )
                                                               )
          HectorAlejandroCabreraFuentes,                       )
                                                               )


                                            CR IM IN A L C O M PLA IN T
        1,the complainantin thiscase,statethatthe following istrueto the bestofmy knowledge andbelief.
Onoraboutthedatets)of            March2019throughFebruary16,2020      inthecountyof            Miami
                                                                                                   -Dade          inthe
    Southern        Districtof           Flori
                                             da             ,thedefendantts)violated:
         CodeSection                                               OffenseDescrl
                                                                               ption
18 U.S.C.j371                              ConspiracytoactwithintheUnitedStatesasanagentofforeignpower
                                          w ithoutnotifying the Attorney General

18U.S.C.j951                              Actingwithinthe Uni
                                                            tedStatesasanagentofaforeigngovernmentwithout
                                           notifying the Attorney General



        Thiscriminalcomplaintisbased on thesefacts:

                                              -   SEE ATTACHED AFFIDAVIT-




        d Continuedontheattachedsheet.
                                                                                                      Z'


                                                                                        omplainant'
                                                                                                  ssignatttre

                                                                               SpecialAgentC.Ryan Matthew s,FBI
                                                                                        Printed nameandtitle

Swornto before meand signed in my presence.

                                                                                   *                        -
Date:          02/18/2020                                                                                   (
                                                                                          Judge'
                                                                                               ssignature

Cityand state'
             .                                                            Hon.Chris M .M cAliley,U.S.M agistrate Judge
                                                                                        Printed nameandtitle
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                                 AFFIDA V IT IN SU PPO R T O F
                    AN APPLICATION FOR A CRIM INAL COM PLAINT

          1,C .Ryan M atthew s,being tirstduly sw orn,hereby depose and state asfollow s:

                       INTR O D U C TIO N A N D A G EN T BA CK G R O UN D

                 Imakethisaffidavitin supportofanapplication fora crim inalcomplaintcharging

 H ECTOR A LEJAN D RO CA BRERA FU ENTES with acting w ithin the U nited Statesasan agent

 ofaforeign governmentwithoutnotifyingtheAttorneyGeneral,inviolationof18U.S.C.j951,
 and conspiracytodothesame,inviolationof18U.S.C.j371.
          2.     1am aSpecialAgentwiththeFederalBureauoflnvestigation(FBl),andhavebeen
 since 2015. Since O ctober of 2017, 1 have been assigned to the M iam i Field Office,

 Counterintelligence Division,where I investigate offenses including those involving individuals

 acting onbehalfofforeign governm entswithoutnotifying theAttorney General.

                 lhavetraining in thepreparation,presentation,and serviceofcriminalcomplaints

 and arrestand search w arrants,and have been involved in the investigation ofnum eroustypes of

 offensesagainsttheUnited States.lhaveexecuted arrestwarrantsand searchwarrantsin previous

 CaSeS.

          4.     The factsin this affidavitare based on m y personalobservations,m y training and

 experience,and information obtained from other witnesses and law enforcementagents.This

 affidavitisintendedtoshow m erelythatthereissufficientprobablecausefortherequestedwarrant

 and doesnotsetforth allofm y know ledge aboutthis m atter.

                                           CH A R G ES

          5.     Title 18,United StatesCode,Section 371 (Conspiracy to commitoffense orto
 defraudUnitedStates),makesitacriminaloffenseforanypersontoconspiretogetherwithoneor
 m ore others eithertp com m itan offense againstthe United Statesorto defraud the U nited States,

 orany agency thereof,in any m anner or for any pum ose.
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                Title18,UnitedStatesCode,Sedion951(Agentsofforeigngovernments),makes
 ita crim inaloffense forany person,otherthan a diplom atic orconsularofficeroratlaché,to actin

 theUnited Statesas an agentofa foreign governmentwithoutpriornotification to the Attonwy

 G eneral. For the purposes of this law ,the tel'm kdagent of a foreign govenunent''includes an

 individualwhoagreestooperatewithintheUnited Statessubjectto thedirection orcontrolofa
 foreign governmentorofficial.

                                      PR O BA BLE CA U SE

                As explained herein, HECTO R A LEJA N DR O CA BR ERA FU EN TES stated to

 AgentsoftheFederalBureau oflnvestigation and Custom sand BorderProtectionthathehasbeen

 actingwithin theUnited Statesunderthedirection and controlofan individualhe (FUENTES)
 believed to be a Russian GovenunentO fficial. FU EN TES has notnotified the A ttorney General,

 as required by law. FUENTES'S description of his illegal activity is corroborated by

 com m unications that law enforcem ent view ed on FUEN TES'S phone, and the description is

 consistentw ith the tactics ofthe Russian intelligence services for spotting,assessing,recruiting,

 and handling intelligence assetsand sources.Thus,forthe reasons stated herein,there is probable

 causetobelievethatFUENTESviolated 18U.S.C.j951and 18U.S.C.j371.
               BA CK G R O UN D O F T H E R U SSIAN IN TELLIG EN C E SERV IC ES

        8.     TheRussianlntelligenceService(R1S)consistsofacollectivecombinationofthree
 civilianandmilitarycomponents:theForeignIntelligence(SVR)istheagencyconcenwdwiththe
 collection ofintelligence outside ofRussia,and reportsdirectly to the PresidentofRussia'
                                                                                        ,the

 Main lntelligence Directorate ofthe GeneralStaffofthe Russian Armed Forces(GRU)isthe
 intelligenceserviceoftheRussianArmed Forces;andtheFederalSecurity Service(FSB)isthe
 agency responsible for Russia's counterintelligence m ission,as w ell as intelligence gathering in

 foreign countries. The FSB also reportsdirectly to the PresidentofRussia.
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                Ttussia's intelligence services are w ell-funded, aggressive, and politically

 protected. The RlS is focused,am ong other things, on intluencing the foreign policy of other

 countries,including theU nited States,and obtaining highly-sensitive and confidentialinform ation

 from those countries. The RlS also seeksto identify infonuation on foreign intelligenceoperations

 directed atRussia,corporateandindustrialinfonnation thatcould benefitRussia,andthepolitical,

 economic,and security policiesofothercountriesthatm ightaffectRussia.

        10.     The RIS and its various com ponents are tasked w ith conducting clandestine and

 coverthum an source operations,ofwhich the U nited Statesistheprincipaltarget. Hum an sources

 are individuals who agree to assistan intelligence service by providing infonnation to thatservice

 in response to specitic taskingsfrom intelligence officers oragents. R lS hum an source operations

 use Rls-trained intelligence officers, as w ell as non-professional collectors referred to as ûkco-

 optees''to recruit,operate,and obtain inform ation.

                A co-optee isa trusted person used by an intelligence service to provide a layer of

 obfuscation betw een the intelligence ofticer and the source for the purpose of increasing

 operationalsecurity. Co-opteescan operateundera variety ofcovers,including butnotlim ited

 to:journalists,academics,businessprofessionals,andevenposingasdiplomatsbothathomeand
 abroad. Co-optees are tasked with spotting,assessing,targeting,collecting,and handling sources

 or assets w ith access to classified,open-source,proprietary, and sensitive inform ation that the

 Russian Govem mentcan useforeconomic,political,ormilitary decision-making advantage.The

 R1S often identitiesco-opteesfrom academia (students/professors)within institutionsofhigher
 learning physically located in Russia.

                Based On m y training and experience,Iam aw are thatR1S Officers and agents use

 various fonns of intelligence tradecraftto protectthem selves and m aintain operationalsecurity.

 W heneverpossible,R1S officers choose m eeting locations fortasking purposesw ithin Russia.
                                                 3
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                                    R ELEVA N T PA RTIES

               H ECTO R A LEJAN DR O CA BRERA FU EN TES, a citizen of M exico and an

 occupationalresearcher atthe N ationalHeal'
                                           tCenterin Singapore,entered the U nited States on a

 B1/2 (temporary business/tourism) visa on February 13,2020. Upon arrivalatthe M iami
 lnternationalAirporton February 13,2020,FUENTES rented a vehicle from a M iam irentalcar

 company.Thisvehiclewasa2019Chrysler300,bearingaFloridalicenseplate(thevehicle).On
 February 14,2020,atapproxim ately 04:50 PM ,a vehicle m atching the description ofthe vehicle

 rented by FUEN TES w as identitied by security ata particular condom inium com plex in M iam i-

 DadeCounty,Florida. A U.S.Govenuuentconfidentialhuman source (CHS),who previously
 provided infonuation regarding RIS activitiesim plicating nationalsecurity interests ofthe United

 States,residesattheabove-mentionedcondominium complex(CHSResidence).Itisbelievedthe
 vehicle drew attention of security at the CH S Residence because it entered its prem ises via

 tailgating another vehicle to gain access. Security atthe CH S Residence attem pted to locate the

 Chryslervehicle.Ultim ately,thevehiclewaslocated on thethird flooroftheparking garage.

               W hen a security guard approached the vehicle, FU EN TES'S travel com panion

 (FEM ALE 1),who residesand islegally marriedto FUENTES in M exico,wasstandingnextto
 the passenger-side door. A s FU EN TES spoke with the security guard,FEM A LE 1 w alked aw ay

 from FUENTES'Srentalcartoward the CHS'SVehicle,which wasparked in theparking garage

 ofthe CH S'SResidence. ltappeared thatFEM A LE 1then w alked tow ardsthe back ofthe CH S'S

 V ehicle and took a photograph ofthe CH S'Svehicle's license plate.W hen security guards atthe

 CH S R esidence questioned FU EN TES and FEM A LE 1 on thenature oftheirbusinessatthe CH S

 Residence,FU EN TES provided a nam eofan individualw hom they w ere purportedly visiting that

 security did notrecognize as living atthe condom inium com plex. Follow ing this,security told
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 FU EN TES that he had to departthe general prem ises of the CH S Residence.This interaction

 betw een FU EN TES and FEM ALE 1 and a security guard w as captured by surveillance video.

               O n the evening of February 16,2020,FU EN TES and FEM A LE 1 arrived atthe

 M iamiInternationalAirportto departthe United States en route to M exico City. W hile atthe

 airport, FUEN TES and FEM A LE 1 were inspected by Ofticers of U .S. Custom s and Border

 Protection (CBP).Under CBP border search authority,CBP conducted a manualsearch of
 FEM ALE 1'scellulartelephone.A review ofthe phonerevealed aclose-up imageofthe license

 plate ofthe CHS'SVehicleparked atthe CHS'SResidence in theSkrecently deleted folder''ofthe

 phone.W hen asked aboutthe photo,FUEN TES adm itted tasking FEM A LE 1 to take the photo of

 the CHS'S vehicle's license plate. CBP'S review ofFUENTES'S phone revealed a W hatsApp

 m essage from FEM A LE 1 sent to FU EN TES w ith a photograph identical to the one taken by

 FEM A LE 1ofthe CH S V ehicle'slicense plate.

                           CONTACT W ITH RUSSIAN OFFICIAL

        16.    O n February 17,2020,FB1A gents conducted a voluntary interview ofFU EN TES

 in the imm ediate vicinity of the M iam i lnternationalA irport. D uring the interview ,FU EN TES

 describedtotheAgentsahistoryofrepeatedcontactin Russiawithan individualhe(FUENTES)
 believedworkedfortheRussian Govermnent(RussianOfficial).
        17.    By w ay of background, FU EN TES told A gents that he is currently m arried to

 FEMALE 1 in M exico and another woman (FEM ALE 2) in Russia. ln M arch 2019,while
 FUENTESwasin Singapore,FEM ALE 2andhertwo daughterstraveled from Germanyto Russia

 for an adm inistrative m atter involving their Russian docum ents. A t the conclusion of the trip,

 FEM A LE 2 attem pted to return to Germ any;however,Russian custom s officialsw ould notallow

 thefamily to depal'
                   tRussia.
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         18.    Subsequently,FUEN TES traveled to Russiato see hisfam ily in M ay 2019. On this

 trip,FUENTES wascontactedby theRussian Ofticial. TheRussian Ofticialstated he(Russian
 Official)had metFUENTES previously through professionalmeetings and exchanges. The
 Russian O fficialasked to m eetw ith FU EN TES in M oscow .

        19.     ln M oscow , FU EN TES recognized the Russian O fficial through previous

 interactionsin largergroup settingsatprofessionalexchanges and meetings. Thiswasthe first

 tim eFUENTES and theRussianOfficialm etalone.Duringthismeeting,FUENTES wastoldthat

 his(FUENTES'S)familyshouldnotgotoEuropeOrobtain U.S.visas.Basedonthosestatements
 and the statem ents to follow ,FU EN TES believed that the individual w orked for the Russian

 Governm ent.

        20.     A t a later m eeting w ith the sam e Russian O fficial in M oscow in approxim ately

 June/luly 2019,the Russian Officialtold FUENTES that he (Russian Official) knew that
 FUENTES waslooking forrealestateinthe M iam i,Floridaarea. TheRussian Ofticialprovided

 a hardcopy printout of FU EN TES'S historical G m ail account and also told FU EN TES that he

 (Russian Official)knew thenameoftherealtorthatFUENTES wasutilizing in M iamito scout
 realestate. FU EN TES told Agents thatthe Gm ailprintoutw as from approxim ately 2015 when

 FU EN TES w as indeed looking for realestate in the M iam iarea. ln the sam e conversation,the

 Russian O fficialbroughtup FU EN TES'S fam ily's inability to departRussia and told FU EN TES

 thatûtwe can help each other.''

        21.     In approximately Septem ber2019,FUENTES metwiththeRussian Officialagain

 in Russia. During thism eeting,the Russian Officialasked FU EN TES to rentapropel'
                                                                                  ty in M iam i,

 specitically in the condom inium com plex w here the CH S resided. The Russian O fficial told

 FUENTESnottorenttheapartmentinhis(FUENTESDS)name,andtonottellhisRussianfamily
 abouttheirm eetings.
                                                 6
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               ln responseto thisrequestbythe Russian Ofticial,in November2019,FUENTES

 asked an associate(Associate)torentan apartmentunderhis(Associate's)name,specitically in
 the sam e condom inium com plex as the CH S Residence. The Associate agreed to rent the

 apartm ent.

               ln Deeember 2019,FUEN TES'S Associate made finalarrangem entsto rentthe

 condominium . FUENTES transferred approxim ately $20,000 U SD to the A ssociate as a down
 paym entand rent.

        24.    A lso in D ecem ber 2019, FU EN TES m et w ith the Russian O fficial again in

 M oscow.FUENTESinformedtheRussianOfficialthathe(FUENTES)hadprocuredacondoat
 theCHSResidence.TheRussianOfticialapprovedandtoldFUENTESthathe(RussianOfficial)
 w ould see FUEN TES the nexttim e FU EN TES w as in M oscow .

               ln February 2020,FUENTES traveled to M oscow and m etagain with the Russian

 O fticial. Such travelis corroborated by Russian entrance found in FU EN TES'S passport.ln this

 m eeting,the Russian Officialtasked FU EN TES w ith locating the CH S'S vehicle in the parking

 garage of the CHSS Residence. The Russian Officialprovided FUENTES with a physical

 description ofthe CH S'S vehicle and told FU EN TES to locate the vehicle in the CH S'SResidence

 parking lot,obtain the CH S'Svehicle'slicense plate num ber,and note the physicallocation ofthe

 CH S'S vehicle. A dditionally,FUEN TES w as instructed to nottake any pictures of the vehicle,

 and sim ply note the above requested inform ation.N evertheless,FU EN TES adm itted thatonce he

 identified the CH S'S vehicle, he directed FEM ALE 1 to take a picture out of convenience.

 FUEN TES told A gents that the R ussian O fficialhad instructed FU EN TES to m eetthe Russian

 O fficialin AprilorM ay 2020 to inform him ofthe results ofthe search for the CH S'S vehicle.

        26.    FU EN TES identified conversations stored on his cellularphone w ith the Russian

 O fficial,w hich corroborated in-person m eetings between FU EN TES and the Russian O fficial.
                                                7
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 These m essages showed the meetings were initiated and directed by the Russian Ofticial. ln

 addition,FUEN TES stated thathe believed the Russian Officialw orked forthe FSB.

                                       C O N CLU SIO N

                Forallthe reasonsstated above,there isprobablecauseto believe thatfrom on or

 aboutM arch 2019 through on oraboutFebruary of2020,FUENTES acted on behalfofaforeign

 govelmmentwithoutnotifyingtheAttorneyGeneral,inviolationof18U.S.C.j951,andconspired
 todothesame,inviolationof18U.S.C.j371.
        28. 1declareunderthepenalty ofperjury thattheinformation provided above istrue
 and correct.



                                                         Respectfully subm itted,
                                                             .
                                                              '        K



                                                         C.Ryan tthew s
                                                         SpecialAgent
                                                         FederalBureau ofInvestigation


 Subscribed and sw orn to beforem e
 on February 18,2020.

            'vY'Y ) c.yz-      et
 TH E H ON O RABLE CH RIS M .M c ILEY
 UN ITED STA TES M A GISTR ATE JU D GE
